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                         Re-examining adolescent social media use and socioemotional
                         well-being through the lens of the COVID-19 pandemic: A
                         theoretical review and directions for future research
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                         Abstract
                              Social media has rapidly transformed the ways in which adolescents socialize and interact with
                              the world, which has contributed to ongoing public debate about whether social media is helping
                              or harming adolescents today. The COVID-19 pandemic has magnified both the challenges of and
                              opportunities of adolescents’ social media use, which necessitates a revisiting of the conversation
                              around teens and social media. In this article, we discuss key aspects of adolescent social media
                              use and socioemotional well-being, and outline how these issues may be amplified in the context
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                              of the COVID-19 pandemic. We use this as a springboard to outline key future research directions
                              for the field, with the goal of moving away from reductionist approaches and toward a more
                              nuanced perspective to understand the who, what, and when of social media use and its impact on
                              adolescent well-being. We conclude with a commentary on how psychological science can inform
                              the translation of research to provide evidence-based recommendations for adolescent social media
                              use.


                         Keywords
                              adolescence; social media; mental health; well-being; COVID-19 pandemic

                                          Social media has rapidly transformed the ways in which adolescents interact with one
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                                          another, sparking intense scholarly and public debate around its potential impact on
                                          teens’ socioemotional well-being and mental health. This has left many parents, educators,
                                          providers, and teens without clear guidance on how to understand and approach adolescents’
                                          social media use. In the context of the unique challenges of the COVID-19 pandemic, the
                                          need to address this gap in knowledge has become increasingly clear. The pandemic has
                                          fundamentally altered the way teens live their lives – online and offline. Adolescents are
                                          now turning to social media for social connection, news and information, self-expression,



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                                         and academics. Many of these changes may be long-lasting; for even as physical distancing
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                                         guidelines gradually subside, many teens’ and parents’ relationships with digital media may
                                         have evolved during the pandemic, and will continue to do so in the future. Thus, we
                                         argue that the field must move toward research on social media that is both nuanced and
                                         applicable. In this review, we discuss the importance of moving away from reductionist
                                         approaches that see social media as merely “helpful or harmful” and instead, consider the
                                         nuances of for whom, in what ways, and when social media use impacts adolescent well-
                                         being. Further, we must design and disseminate our research with its direct applicability to
                                         families and providers in mind, so that evidence-based recommendations for adolescents’
                                         engagement with social media are at the forefront. More than ever before, the COVID-19
                                         pandemic and associated physical distancing measures have revealed the necessity of
                                         changing the conversation around teens and social media use, shifting toward a more
                                         balanced understanding of risks and benefits that directly informs guidelines for parents
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                                         and teens.

                                         Thus, the current article seeks to outline the potential ways in which COVID-19 has
                                         magnified the existing challenges and opportunities of teens’ social media use, and to use
                                         this as a springboard for outlining future directions for adolescent social media research.
                                         First, we discuss key aspects of adolescent development and socioemotional well-being to
                                         provide context for a focus on social media use in this population. Second, we outline the
                                         specific ways in which COVID-19 has amplified considerations regarding the challenges
                                         and opportunities of social media use in teens, reshaping these considerations in ways that
                                         extend beyond the COVID-19 pandemic. Finally, we outline recommended steps for future
                                         research on social media use and adolescent well-being so that psychological science can
                                         inform the public conversation and recommendations around teens’ social media use.
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                                         While COVID-19 may affect adolescent development and socioemotional well-being across
                                         numerous domains at the individual (e.g., cognitive, affective, behavioral) and system (e.g.,
                                         peer network, family, school) levels, a full review of these changes is beyond the scope of
                                         this review (see Orben et al., 2020). Our goal is to provide necessary context for our specific
                                         focus on social media in adolescents’ lives, during and beyond the COVID-19 pandemic.
                                         We focus on four key domains of adolescents’ socioemotional well-being: social connection,
                                         peer influence and risky behaviors, self-presentation and self-expression, and social stressors
                                         and mental health. Notably, in this article, the terms “adolescents,” “teenagers,” and “teens”
                                         are used interchangeably to refer to youth in the period of adolescence. The developmental
                                         phenomena discussed in this article are especially relevant for the period of life when youth
                                         have begun pubertal development (Patton & Viner, 2007), but still live with parents or
                                         other caregivers (rather than on their own or with peers or romantic partners); in the U.S.
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                                         and many other nations, this developmental period captures roughly ages 10–18. While our
                                         article focuses on adolescent social media use and socioemotional well-being in the context
                                         of the COVID-19 pandemic, we believe the core components of this review and future
                                         directions remain relevant to the periods before, amidst, and in the aftermath of COVID-19.




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                          Setting the Stage: Adolescent Development and Socioemotional Well-being
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                                         Adolescence is a time of significant and rapid biological, social, and psychological changes,
                                         which is characterized by identity exploration, increasing autonomy from parents and
                                         reliance on peers, heightened sensation-seeking and risk-taking, and the initiation of
                                         romantic and sexual relationships (Dahl et al., 2018). Adolescence also is the developmental
                                         period in which teens are exposed to more interpersonal stress (Hamilton et al., 2015),
                                         experience more emotional intensity and dysregulation (Guyer et al., 2016), and are at
                                         heightened risk for first onset and worsening of nearly all mental health problems (Kessler
                                         et al., 2005; Patton & Viner, 2007), including depression (Hankin et al., 1998; Salk et
                                         al., 2017), anxiety (Merikangas et al., 2010), disordered eating (Holm-Denoma et al.,
                                         2014), substance use (Chen & Kandel, 1995; NIDA, 2020), and suicidal thoughts and
                                         behaviors (Centers for Disease Control, 2018). These changes and vulnerabilities create a
                                         unique developmental phase of heightened risk and opportunities, for which understanding
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                                         social media use and subsequent socioemotional well-being in the context of COVID-19 is
                                         particularly relevant.

                                         One of the most prominent changes of adolescence involves how and with whom youth
                                         spend their time. In general, peer relationships take on paramount importance during
                                         adolescence, and adolescence is often referred to as a period of “social reorientation”
                                         (Nelson et al., 2005). Pubertal hormones, patterns of brain development, and social changes
                                         influence social information processing and teens become particularly sensitive to peer
                                         feedback (including both reward and rejection), status, and connection (Kilford et al.,
                                         2016; Schriber & Guyer, 2016). As youth transition from childhood to adolescence,
                                         they spend increasing amounts of unsupervised time with peers (Lam et al., 2014).
                                         Peers become extremely important for identity, self-concept, and self-worth (Harter et al.,
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                                         1996). Furthermore, negative interactions, events, or sensitivities with peers (e.g., conflict,
                                         rejection, bullying, social comparison) confer heightened risk for internalizing symptoms
                                         (Hamilton et al., 2015). Adolescence also is the period in which many youth begin their
                                         first romantic relationships, with these relationships offering important opportunities for
                                         development of social skills (e.g., conflict negotiation, assertion of needs) and sexual
                                         identities (Collins, 2003; Savin-Williams & Cohen, 2015).

                                         Yet, the COVID-19 pandemic has disrupted teens’ social environment and normative
                                         socioemotional developmental tasks in profound ways. For many youth around the globe,
                                         schools have been closed (Lee, 2020), extracurricular activities and milestones (e.g.,
                                         graduation, dances, sporting events) have been canceled, and peer socializing has been
                                         limited for families and states who are adhering to policy recommendations and mandates.
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                                         While children and adults of all ages may be experiencing feelings of loneliness during
                                         this time of physical distancing (Groarke et al., 2020), the effects of being isolated from
                                         peers may be especially pronounced for teens (Laursen & Hartl, 2013). The inability to see
                                         one’s peers in school and other in-person contexts presents a developmental mismatch that
                                         is likely to affect adolescents’ mood and overall socioemotional well-being (Orben et al.,
                                         2020). Put simply, teens are now forced to remain physically isolated with their families
                                         during the developmental period when they are biologically and psychologically driven to be
                                         with peers (Schriber & Guyer, 2016).


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                                         Adolescence also is a stage in which youth are highly attuned to peer status (e.g., the
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                                         level of popularity of themselves and their peers) and peer norms (e.g., the behaviors
                                         and attitudes of peers), which makes them more susceptible to peer influence (Brechwald
                                         & Prinstein, 2011). Consequently, adolescents are likely to engage in behaviors that lead
                                         to social rewards such as increased popularity or peer feedback (Brechwald & Prinstein,
                                         2011), particularly when in the presence of peers (Steinberg, 2008). Engaging in high-risk
                                         behavior is a normative part of adolescence (Steinberg, 2004), in part due to peer influence
                                         processes that provide adolescents with social rewards for risk-taking (Blakemore, 2018;
                                         Chein et al., 2011), and partially due to teens’ “personal fable” mindset: believing oneself
                                         to be uniquely invulnerable to risks (i.e., “this won’t happen to me”; Buis & Thompson,
                                         1989). This mindset is particularly dangerous in the context of COVID-19, as it may lead
                                         to teens’ perception that COVID-19 transmission will not affect them (Ellis et al., 2020)
                                         or that symptoms may be relatively minor if infected. Further exacerbating this problem
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                                         is that teens are indeed less susceptible to COVID-19 infection and account for a smaller
                                         proportion of severe cases and deaths than adults (Viner et al., 2020). This perception of
                                         invincibility, combined with lower risk of severe COVID symptoms (Viner et al., 2020),
                                         developmentally-normative social risk-taking (Blakemore, 2018), and rapidly spreading
                                         misinformation about COVID-19 on social media (Kouzy et al., 2020), could potentially
                                         lead teens to engage in behaviors that are unsafe for themselves, their families, and the
                                         general public (Andrews et al., 2020).

                                         So how can teens cope with this new and uncertain reality of COVID-19, physical
                                         distancing, and stages of reopening? Understandably, many adolescents around the world
                                         are turning to social media to stay socially connected with their peers and the world at large,
                                         while physically distant (Common Sense Media, 2020; Ellis et al., 2020; Munasinghe et al.,
                                         2020), which highlights existing and new challenges and opportunities in the context of the
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                                         COVID-19 pandemic.


                          Theoretical and empirical perspectives on adolescent social media use
                                         Social media has become central to the social context of adolescence, and COVID-19
                                         has only magnified this reality. Over the past 15 years, the advent and rapid growth of
                                         social media has transformed the ways in which adolescents interact with peers and the
                                         world around them (Shapiro & Margolin, 2014). Broadly, social media refers to digital
                                         platforms, including websites, apps, and electronic tools, that allow for users to create and
                                         share content, particularly for social networking (Carr & Hayes, 2015). These platforms
                                         may include social networking sites (e.g., Instagram, Snapchat, Tiktok), video sharing sites
                                         (e.g., Youtube), social gaming tools (e.g., Fortnite, Minecraft), and messaging apps, and
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                                         may be used for a multitude of purposes, including posting photos and videos, sending
                                         individual messages, playing games, and video chatting with one or more friends. During
                                         the COVID-19 pandemic, many adolescents reported an increase in the use of digital
                                         technologies to communicate with family and friends (e.g., Common Sense Media, 2020).

                                         Several basic features differentiate most social media from traditional, in-person
                                         interactions. Indeed, multiple theoretical frameworks have aimed to characterize social
                                         media sites, and their effects on adolescent development, based on sites’ affordances or


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                                         features (Boyd, 2011; Moreno & Uhls, 2019; Nesi et al., 2018a). For example, compared to
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                                         face-to-face conversations, social media tends to be more public, allowing for simultaneous
                                         interactions with many people at once. It also tends to be more “quantifiable”: the things
                                         individuals do online are often characterized by numbers of likes, followers, and views,
                                         and social media tends to involve fewer “interpersonal cues,” including tone of voice, facial
                                         expressions, and gestures.

                                         Prior research examining the effects of social media use on adolescent well-being has often
                                         collapsed across these various sites, tools, and activities, typically estimating associations
                                         between overall “screen time” and well-being. Not surprisingly, findings have been mixed
                                         (Odgers & Jensen, 2020). While many studies have found significant, albeit small,
                                         associations between time on social media and higher levels of depression, anxiety, sleep
                                         problems, body dissatisfaction, disordered eating, and health-risk behaviors (Carter et al.,
                                         2016; Holland & Tiggemann, 2016; Twenge & Campbell, 2018; Vannucci et al., 2020),
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                                         others have found no such associations for screen time and socioemotional well-being
                                         (Cohen et al., 2017; Jensen et al., 2019; Orben & Przybylski, 2019). Still others have found
                                         the opposite effect – that social media, particularly when used to facilitate direct social
                                         interactions with friends – can have a positive effect on teens’ well-being (Clarke et al.,
                                         2018; Hamilton et al., 2020).

                                         A consensus is now emerging that, perhaps, the sheer amount of time youth spend on social
                                         media is less important than the specific behaviors in which they engage online (Prinstein
                                         et al., 2020), yet gaps in knowledge remain. The COVID-19 pandemic has magnified these
                                         gaps, as more than ever before, the public needs clear, evidence-based guidelines for how to
                                         understand and navigate teens’ social media use. Through this review, we aim to highlight
                                         the importance of applying a more nuanced approach to understanding teen social media use
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                                         and its effects on socioemotional well-being to inform the development of such guidelines.


                          Social Media Use and Adolescent Socioemotional Well-being in the
                          COVID-19 Pandemic and Beyond
                                         With the COVID-19 pandemic causing abrupt and prolonged social disruption for
                                         adolescents, many are turning to social media with increased frequency (Ellis et al., 2020;
                                         Munasinghe et al., 2020) and developing new ways of using social media to connect with
                                         their peers and the world. In many ways, COVID-19 has magnified existing challenges and
                                         opportunities of social media use for teens’ socioemotional well-being. Social media has had
                                         a profound impact on youth well-being for many years prior to the COVID-19 pandemic,
                                         with the pandemic shedding new and urgent light on these critical issues. Furthermore, the
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                                         risks and benefits of social media that have been exacerbated by the pandemic will only
                                         continue to increase in relevance in the future. Thus, in this section we outline challenges
                                         and opportunities of social media use for adolescent socioemotional well-being, highlighting
                                         the ways in which COVID-19 has amplified these concerns. We focus on domains of well-
                                         being especially relevant to the core socioemotional developmental tasks of adolescence,
                                         including establishing more intimate and complex relationships, exploring and building
                                         identity, and navigating increased autonomy from adults and reliance on peers. These four



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                                         domains of socioemotional well-being include: social connection, engagement in health-risk
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                                         behaviors, self-presentation and expression, and social stressors and mental health.

                          Social Connection
                                         Social media is a primary mode of peer interactions and communication among adolescents
                                         (Anderson & Jiang, 2018). The COVID-19 pandemic has further magnified the ubiquity and
                                         importance of peer interactions that occur via social media. As the COVID-19 pandemic
                                         disrupts teens’ typical social experiences, social media may offer invaluable opportunities
                                         for social connection (Orben et al., 2020), and emerging research suggestions that perceived
                                         social connection may be protective against negative mental health effects of COVID-19
                                         (Magson et al., 2020). Adolescents may connect with peers in a variety of ways using
                                         social media, and in some ways, teens may be better equipped to maintain and explore
                                         new ways of social connection than other age groups given their status as “digital natives.”
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                                         Adolescents can stay connected with their peers by video chatting, texting, commenting on
                                         posts or “stories,” social gaming, sharing videos, or sending memes for an easy way to stay
                                         in touch. Even without direct connection, social media provides teens the opportunity to
                                         stay “in the loop” of their social network by browsing peers’ Instagram feeds or passively
                                         viewing friends’ recent posts or “stories.” Although teens often connect on social media
                                         with peers in their existing social network, social restrictions and the temporary dissolution
                                         of school may present youth the opportunity to expand their networks to peers within
                                         their communities and more broadly. However, it also may promote social connection
                                         for peers with whom there is already a strong and stable connection (e.g., friends), and
                                         might weaken connections with classmates or more loosely-connected or tenuous peer
                                         relationships. This may have the unintended effect of further cementing existing social
                                         circles or hindering the development of new friendships during a developmental period that
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                                         is typically characterized by friendship transitions and changes (Poulin & Chan, 2015).
                                         As youth navigate social media for their primary form of social connection, this also may
                                         broaden how they use social media and connect with peers, as well as potentially strengthen
                                         the perceived importance of in-person socializing.

                                         Each option for connection via social media offers a range of potential benefits and
                                         drawbacks, based partially on their features or affordances (Moreno & Uhls, 2019; Nesi
                                         et al., 2018a). For example, passively browsing memes or TikTok videos may relieve
                                         boredom and provide entertainment, but, due to the lack of synchronous interaction
                                         and shared interpersonal cues, does not represent an intimate social interaction. Meeting
                                         up with a friend or romantic partner on video chat, on the other hand, may more
                                         closely resemble an in-person interaction and provide stronger social connection. Some
                                         youth, particularly younger adolescents, might feel more comfortable with text-based
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                                         communication (Anderson & Jiang, 2018), due to existing social norms and the increased
                                         time and space to formulate responses. This may offer the benefit of maintaining social
                                         connection, within a safer context at certain times. Social gaming, to the extent that it does
                                         not occur in addictive or problematic ways, may also increase feelings of connection and
                                         sense of community (Sublette & Mullan, 2012). Indeed, gaming may provide opportunities
                                         to practice cooperation and prosocial skills (Granic et al., 2014), which may be especially
                                         important when such in-person opportunities are limited due to COVID-19. This may be


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                                         especially true among adolescent boys, compared to girls, who are more likely to play video
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                                         and online games (Anderson & Jiang, 2018).

                                         Prior research has identified numerous benefits of technology-facilitated social connection
                                         for teens (Anderson & Jiang, 2018; Hamilton et al., 2020), and these benefits may be
                                         further magnified during the COVID-19 crisis. By interacting with others outside the family
                                         context, teens can practice the autonomy and independence that are essential to their
                                         development. They can share their feelings about the crisis, receive support, and distract
                                         themselves from current stressors and challenges (Cauberghe et al., 2020). Social media can
                                         connect teens to resources in their local communities or help teens feel part of a global
                                         community by participating in large-scale social media “challenges” such as those common
                                         on TikTok (Taylor, 2020) or broader social movements.

                                         Finally, social media presents unique challenges and benefits related to adolescents’
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                                         romantic and sexual relationships. While many adults live with romantic partners or have
                                         the autonomy to remain physically in contact during the period of physical distancing,
                                         adolescents who live with their parents are likely to be separated from their romantic
                                         partners during COVID-19. Social media may provide a critical way to stay connected
                                         during this time, allowing youth to connect with partners (or to flirt with potential partners)
                                         in the ways discussed above. Research suggests that adolescents very frequently use social
                                         media to communicate with romantic and sexual partners—both general communication
                                         (Nesi et al., 2017; Rueda et al., 2015) and sexuality specifically (Widman et al., 2014)
                                         —and this communication may be even more frequent during COVID-19. However, the
                                         increased reliance on social media for connection and intimacy may add pressures to
                                         engage in sexting behaviors, which may lead to decreases in socioemotional well-being
                                         (Alonso & Romero, 2019). Importantly, it is unclear how the displacement of in-person
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                                         with technology-based communication during COVID-19 may affect adolescent romantic
                                         development and intimacy. One study found that early adolescents who communicated with
                                         romantic partners primarily through technology were more likely to report poorer romantic
                                         relationship competencies one year later (Nesi et al., 2017). Given that a key developmental
                                         task of adolescence is to explore and develop one’s romantic and sexual identity, questions
                                         regarding how social media use affects relationship development will be critically important,
                                         particularly through the lens of COVID-19.

                          Peer Influence and Risky Behaviors
                                         The majority of teens use social media to access news and health information (Anderson
                                         & Jiang, 2018). Yet, the degree to which this practice may be helpful and harmful for
                                         teens depends on a number of factors, including individual adolescents’ susceptibility to
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                                         media and peer influence and the accuracy and source of the information. In particular,
                                         exposure to peers’ content on social media creates a context for peer influence processes.
                                         Teens’ perceptions of other teens’ behaviors can influence both risky (Blakemore, 2018)
                                         and prosocial behaviors (Choukas-Bradley et al., 2015), and this influence has been
                                         demonstrated through social media specifically (Sherman et al., 2016). On the one hand,
                                         peers sharing information on social media may encourage more prosocial motivations,
                                         which may promote health and safety behaviors during COVID-19 (Oosterhoff et al.,



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                                         2020). Short, steady streams of information are readily available on most social media
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                                         sites, which can enhance access to and dissemination of accurate information, and may
                                         protect teens against internalizing symptoms (Zhou et al., 2020). Indeed, many social
                                         media platforms have adopted strategies for promoting health information, such as a
                                         COVID-19 Information Center available at the top of the screen on Facebook-owned
                                         apps (e.g., Facebook, Instagram, WhatsApp). Some social media apps also include tips
                                         on how to prevent the spread of the disease and answers to common questions. Further,
                                         when individuals search or hashtag “covid”, social media apps feature reputable health
                                         organizations, such as the World Health Organization (WHO). Given the importance of
                                         peer influence in adolescence (Brechwald & Prinstein, 2011), youth who share this accurate
                                         information or share personal stories with COVID-19 may promote the seriousness of the
                                         virus in one’s social network, which is more effective in promoting positive health behaviors
                                         than citing statistics (Wickman et al., 2008). Further, peers depicting safe physical distancing
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                                         practices may shift the social norms in a peer group (Andrews et al., 2020), thereby making
                                         these behaviors more acceptable and reducing social influence towards engaging in risky
                                         behaviors.

                                         COVID-19 represents an extreme example of the risks and opportunities of using social
                                         media for public health information with teens. Social media may impact teens’ perceptions
                                         of COVID-19, physical distancing, and re-opening. While teens may influence one another
                                         to engage in healthy behaviors, images and videos shared by peers who are engaging in risky
                                         behaviors (such as not practicing physical distancing) may encourage other teens to do the
                                         same. Memes or posts that make light of COVID-19 also may reduce teens’ adherence to
                                         the guidelines. This is particularly risky given that many teens report limited to no concern
                                         about their own likelihood of becoming infected with COVID-19 (Ellis et al., 2020) and
                                         that teens often overestimate their peers’ risky behavior (Prentice & Miller, 1993), which
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                                         can increase teens’ likelihood of engaging in risky behaviors. Most problematic, however,
                                         is that many adolescents may be unaware that they are promoting risky behavior. The
                                         COVID-19 pandemic has been subject to an unprecedented spread of misinformation and
                                         “fake news” about COVID-19 (Kouzy et al., 2020; Zarocostas, 2020), which was recently
                                         labeled by the WHO to be an “infodemic” (United Nations Department of Communications,
                                         2020). Many teens struggle to distinguish between “fake news” and accurate information
                                         (Breakstone et al., 2019), which may be particularly relevant if information is posted and
                                         shared by peers. False information can easily infiltrate teens’ social networks as friends
                                         share “click-bait” posts, and teens may be more likely to believe news and information if
                                         shared by a high-status peer (based on research regarding peer influence from high-status
                                         peers; Choukas-Bradley et al., 2015; Cohen & Prinstein, 2006). This problem may be further
                                         exacerbated in contexts with quickly evolving or urgent health and safety recommendations
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                                         such as the COVID-19 pandemic, which may further contribute to teens’ engagement in
                                         risky behaviors.

                          Self-Presentation and Self-Expression
                                         Self-presentational theories describe how individuals engage in impression management
                                         strategies to present themselves in the most positive light (Schlenker & Pontari, 2000). Teens
                                         are especially motivated to self-present in favorable ways, given the imaginary audience


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                                         phenomenon, in which adolescents feel as if others are watching their every move (Zheng et
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                                         al., 2019). Social media uniquely allows teens to carefully curate their self-presentation. The
                                         ability to present oneself on social media provides novel and unique outlets for many aspects
                                         of adolescent identity development, including experimentation with self-presentations and
                                         expression (Davis & Weinstein, 2017). While adolescents are not seeing their peers in school
                                         during the COVID-19 pandemic, they can still post and experiment with self-presentational
                                         photos, videos, and text. Sharing videos and ideas has become even easier with the rise of
                                         platforms like TikTok, where teens can create and post brief video clips, fostering creativity
                                         and new social identities, which may also be involved with bridging and bonding social
                                         capital to new peers or strengthening peer relationships in offline spaces (Ahn, 2012).

                                         Social media also can facilitate the development of intellectual ideas and collective action
                                         (Middaugh et al., 2017), as teens become increasingly aware of the world and the way
                                         in which policies affect them. The social media audience also can provide adolescents
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                                         with social rewards for exploring and presenting new socially-engaged identities, as well
                                         as for participating in movements for social justice (Weinstein, 2014). This is particularly
                                         relevant in the context of COVID-19 and the disproportionate impact of COVID-19 on
                                         Black, Indigenous, and Latinx families in the U.S., which sheds light on systemic racism
                                         contributing to these disparities (Webb Hooper et al., 2020). In this way, social media
                                         provides readily-accessible tools for teens to share developing thoughts and experiment
                                         with new social identities, particularly without access to traditional methods (e.g., school,
                                         extracurricular activities, in-person social activities). Yet, the larger context in which
                                         individuals are embedded also matters, as experimentation may negatively affect teens who
                                         are challenging the sociocultural norms of their peer networks or greater communities.
                                         Furthermore, in some cases, efforts to experiment with various forms of self-presentation
                                         online can lead adolescents toward participation in destructive movements, such as white
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                                         nationalist and supremacy movements and other extremist groups (Frissen, 2021).

                                         Importantly, teens are especially attuned to self-presentation related to physical appearance;
                                         attractiveness is often central to adolescents’ self-concept and self-worth, especially for girls
                                         (Thompson et al., 1999). Social media sites may exacerbate physical appearance concerns
                                         among adolescents due to the visualness of these media, the ability to carefully select
                                         and edit visual images, and the presence of an audience of peers who provide reinforcing
                                         feedback (Choukas-Bradley et al., 2020). Social media apps now allow for a broad range
                                         of editing techniques, including tools to change one’s body shape on photos and touch
                                         up one’s appearance in live videos. While this may allow teens to experiment with new
                                         identities and self-expression, teens also can engage in endless upward social comparison
                                         with the carefully curated and edited photos of peers, celebrities, and “influencers”
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                                         (Fardouly et al., 2017). Many studies have demonstrated links between social media use
                                         – especially photo-focused behaviors – and body image dissatisfaction and disordered eating
                                         among adolescents and young adults (Holland & Tiggemann, 2016). However, certain self-
                                         presentational tactics, such as selfie sharing, likely affect youth differently depending on
                                         their motivations and peer feedback. For instance, “selfie” posting may reflect both positive
                                         self-esteem and attempts at social acceptance and reassurance-seeking (McLean et al., 2019;
                                         Rosenthal-von der Puetten et al., 2019).



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                                         During the COVID-19 pandemic, when almost all interpersonal interaction with peers
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                                         occurs through social media, these self-presentational concerns may be further exacerbated.
                                         With teens spending more time on social media in the absence of in-person contact
                                         with peers, they also may be spending more time on self-presentational tactics, and the
                                         “social media self” may feel even more central to one’s identity. A lack of structure or
                                         activities outside of the home, may cause adolescents to find it difficult to disengage from
                                         self-presentational tactics, since any given moment provides an opportunity for curating
                                         one’s social media presence. Indeed, teens think about the “social media audience” even
                                         when offline (Choukas-Bradley et al., 2020), which may influence teen behaviors and has
                                         implications for mental health during COVID-19. The “social media audience” may lead
                                         teens, particularly girls, to feel pressured to engage in beauty rituals even when stuck
                                         at home with their parents. Some teens may experience anxiety about limits to their
                                         typical routines for maintaining physical appearance, such as the inability to exercise or
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                                         access professional services such as gyms or salons. Similarly, as youth view carefully
                                         crafted and edited images and videos of their peers, they may engage in upward social
                                         comparisons regarding physical appearance, lifestyles, and material possessions because in-
                                         person interactions cannot correct false self-presentations. In turn, youth may feel increased
                                         pressure to present a certain image of themselves to live up to those portrayed by others
                                         (Yau & Reich, 2019) and to obtain online indicators of social status, such as likes and views
                                         (Nesi & Prinstein, 2019). At the same time, however, it is possible that staying home may
                                         relieve the social or time pressures of in-person beauty or material standards for some youth,
                                         thereby having a positive impact on self-esteem and body image.

                          Social Stressors and Mental Health
                                         Social media provides a novel context through which adolescents may be prone to encounter
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                                         social stressors, such as peer conflict, “drama,” cyber-victimization, and harassment and
                                         discrimination, which are known to negatively impact mental health (Anderson & Jiang,
                                         2018; Fisher et al., 2016; Rose & Tynes, 2015; Tynes et al., 2019; Underwood & Ehrenreich,
                                         2017). Even ambiguous peer responses (or lack of response) may be potentially threatening
                                         for teens, given their heightened sensitivity to peer acceptance and rejection (Nesi et al.,
                                         2018a). With more time on social media during COVID-19 (Common Sense Media, 2020;
                                         Ellis et al., 2020), the ability to escape these stressors or apply typical coping strategies
                                         may be further diminished. Given that peers’ online networks may mirror those of their
                                         offline environment, teens from disadvantaged neighborhoods may have social problems
                                         further amplified on social media (Stevens et al., 2017). Within the context of the COVID-19
                                         pandemic, new stressors and fears related to social media use may arise as well. Much
                                         of the content adolescents view on social media during this time may be related to
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                                         the COVID-19 pandemic or the inequities that have been exposed. Content may contain
                                         references to the virus itself, photos and videos of others’ physical distancing practices
                                         or illness, updates on recent news, and descriptions of their peers’ experiences with the
                                         pandemic. Much of this content may be scary, sad, or overwhelming. As teens spend more
                                         time passively scrolling through social media to relieve boredom, they may come across a
                                         barrage of upsetting content, perhaps exacerbating anxieties, creating a sense of loneliness
                                         and helplessness, and negatively impacting mood. For instance, youth may be more likely
                                         to come across inappropriate or distressing content, depicting, for example, peers engaging


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                                         in risky behaviors (Vannucci et al., 2020), visual displays of individual and systemic racism
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                                         (Tynes et al., 2019), or even self-injurious behaviors (Marchant et al., 2019), which may
                                         contribute to the onset and worsening of mental health symptoms.

                                         Given that social media provides constant access to a social space during COVID-19, teens
                                         may develop an even greater attachment and sensitivity to the status and quality of their peer
                                         relationships via social media. For some, this may contribute to a heightened sense of Fear
                                         of Missing Out (FoMO), which often occurs via social media, and is associated with anxiety,
                                         loneliness, and depression (Przybylski et al., 2013; Scott & Woods, 2018). Specifically,
                                         youth may worry that, at any time, peers are engaged in rewarding social interactions on
                                         social media without them, prompting increased time online and pressure to respond to posts
                                         and messages (Nesi et al., 2018b). Without in-person interactions to provide reassurance
                                         about these relationships, teens may rely more on social media to understand their social
                                         status and strength of relationships. FoMO may be even more pronounced as parents vary in
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                                         adherence and physical distancing practices, and it may be more challenging for teens whose
                                         peers are spending time together in person. Further, youth may feel pressured by peers to
                                         reply or be continuously available on social media given that there are limited options for
                                         other activities or those outside the home. Thus, while these interactions may help teens feel
                                         supported and connected to peers, social media also may become an unanticipated source
                                         of chronic and acute stressors (Steele et al., 2020). For some teens, the social threat and
                                         reward available on social media might be difficult to disengage from, or may contribute
                                         to psychological stress, particularly given adolescents’ ongoing cognitive development.
                                         Distancing practices also may prevent teens from gaining in-person social support to cope
                                         with these emerging anxieties, and teens may have fewer distractions readily available.
                                         However, for some youth, physical distancing practices and increased time at home may
                                         reduce anxieties and stressors, such that youth may now have more agency in when and how
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                                         they participate in social activities.

                                         Yet, youth are not only passive consumers of media, but actively seek and contribute to
                                         their social environments (Flynn & Rudolph, 2011), both online and offline (Subrahmanyam
                                         et al., 2006). Thus, COVID-19 and its related stressors (e.g., missing typical activities and
                                         friends; Rogers et al., 2021) may impact youth and their mental health differently (Zhou et
                                         al., 2020). Specifically, teens’ cognitive and affective states may influence social media use
                                         and teens’ online experiences, which may be exacerbated during COVID-19. For instance,
                                         COVID-19 may heighten depressogenic and anxious thoughts and behaviors, which, in
                                         turn, may impact how and when teens use social media (Drouin et al., 2020). Indeed,
                                         research indicates that teens with depression or depressive symptoms use social media in
                                         a way that further exacerbates these problems (Radovic et al., 2017), such as by excessive
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                                         reassurance-seeking posting behaviors and passively browsing content. Similarly, teens’
                                         anxious thoughts may make youth seek out, share, or be more affected by COVID-related
                                         news and information (Rogers et al., 2021), contributing to panic or general worries about
                                         what might happen or perpetuating misinformation on social media to their peer network.
                                         As teens spend more time on social media and experience more negative affective states,
                                         these youth may be more likely to seek out and react negatively to content, which may
                                         subsequently lead youth to encounter more of that content. Further, the need to rely on video
                                         tools for socialization may create new anxieties due to a lack of established social rules

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                                         and comfort with these platforms, particularly for anxious teens, which will be important
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                                         to explore among individuals across development. Importantly, social media may serve as
                                         a valuable tool for improving mental health, such that teens may use social media to seek
                                         out online support groups or mental health resources, including psychoeducation, screening
                                         tools, and even digital mental health interventions (Hamilton et al., 2020). This may be
                                         particularly pronounced during COVID-19, which may prompt mental health and related
                                         fields to further improve online engagement with teens for mental health prevention and
                                         early intervention (Gruber et al., 2020).


                          Individual Differences and Vulnerabilities for Teens’ Social Media Use
                          during COVID-19
                                         The use and effects of social media depend on a number of factors specific to individual
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                                         teens (e.g., age, gender, race, ethnicity, personalities, and pre-existing emotional or mental
                                         health difficulties), as well as the broader sociocultural context of their lives. Growing
                                         research has examined gender differences in social media use and its effects on various
                                         domains of well-being and mental health (e.g., McCrae et al., 2017), and emerging
                                         research specific to COVID-19 suggests that the effects of COVID-19 on mental health
                                         may be particularly pronounced for adolescent girls, compared to boys (Magson et
                                         al., 2020; Racine et al., 2020). COVID-19 has further highlighted the importance of
                                         considering other individual factors in how social media may impact adolescents. Broadly,
                                         COVID-19 has intensified considerations involving the greater social and geopolitical
                                         context of adolescents’ lives such as families, communities, culture, laws, and policies (e.g.,
                                         different rates of infection or local policies and enforcement of physical distancing during
                                         COVID-19), which may affect social media use and experiences.
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                                         Importantly, COVID-19 has not equally affected all adolescents and families, which
                                         highlights the systemic racism that has contributed to the disproportionate rates and effects
                                         of COVID-19 among racial and ethnic minorities in high-income or developed countries
                                         (Razai et al., 2021; Sze et al., 2020). Specifically, a meta-analytic review of studies from
                                         the United States and United Kingdom found that individuals of Black and Asian ethnicity
                                         are at increased risk of COVID-19 infection compared to White individuals (Sze et al.,
                                         2020). In the United States, individuals who are Black, Latinx, and Indigenous are two to
                                         four times more likely to be hospitalized due to COVID-19 than White communities (as of
                                         December 2020, Centers for Disease Control and Prevention, 2020). The personal, financial,
                                         and emotional costs of COVID-19 are likely exacerbated for adolescents who identify as a
                                         racial or ethnic minority (Novacek et al., 2020). In addition to the COVID-related stressors
                                         that may affect all teens, social media may have unique effects for youth with marginalized
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                                         identities during this time. As youth are using more social media (Common Sense Media,
                                         2020; Ellis et al., 2020), teens may be more likely to be exposed to content or videos
                                         circulating on the internet that are discriminatory or that highlight violence and systemic
                                         racism, which may be a unique form of racial trauma that impacts mental health (Saleem
                                         et al., 2020; Tynes et al., 2019). At the same time, however, social media may provide a
                                         much-needed sense of community and action, uniting youth across the world to use their
                                         voices and tools to demand change.


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                                         While social media may be beneficial for many teens, particularly during COVID-19, it may
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                                         be a “lifeline” for teens who are isolated or who live in unsafe or unhealthy environments
                                         and are in need of social support. For example, teens who are immuno-compromised or
                                         have pre-existing medical conditions may be even more socially isolated and anxious
                                         about COVID-19 and re-opening practices. Social media may provide these teens with a
                                         much-needed space to connect with similar peers and provide coping resources and support
                                         for teens navigating the complex emotions of fear, grief, loss, and trauma. Further, a large
                                         body of work documents that lesbian, gay, bisexual, transgender, and queer (LGBTQ) youth
                                         are at heightened risk for mental health concerns, especially if they are rejected by their
                                         families or experience abuse (Choukas-Bradley & Thoma, In press). These concerns may
                                         be exacerbated during the COVID-19 pandemic, when some LGBTQ teens are living in
                                         close quarters with families in high-conflict situations, and with no natural escape to school,
                                         work, or time with peers. In these challenging times, it is possible that social media offers
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                                         teens an opportunity to seek social support from online communities. For example, LGBTQ
                                         adolescents may use social media to connect with friends and romantic partners, or with
                                         online-only LGBTQ support networks (Kuper & Mustanski, 2014).

                                         Finally, it is important to note that the potential social, psychological, and financial stressors
                                         associated with COVID-19, as well as adolescents’ access to and use of social media
                                         during this time, are largely affected by families’ socioeconomic status. Adolescents from
                                         economically disadvantaged households are more likely to experience negative effects from
                                         social media (George et al., 2020), and to engage in more unstructured and unsupervised
                                         screen time (Mascheroni & Ólafsson, 2014), particularly if parents work in essential fields.
                                         At the same time, physical distancing measures may be more burdensome for families
                                         with fewer resources, who may live in smaller spaces, unsafe neighborhoods, or crowded
                                         conditions. As unemployment rates continue to soar during COVID-19, there also may be
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                                         new financial hardship and stress experienced by youth during an already uncertain time.
                                         These youth may thus rely even more heavily on social media to meet basic needs for
                                         social connection and autonomy, or, alternatively, have more limited access to social media
                                         as financial constraints impact smartphone and internet services. As the economic fallout
                                         of the pandemic disproportionately affects lower income families, these disparities may be
                                         further magnified in the wake of COVID-19 and for years to come. Thus, individual and
                                         systemic factors have become exacerbated in the context of COVID-19 and warrant careful
                                         examination when examining adolescents’ social media use and socioemotional well-being.


                          Key Future Directions for Research
                                         As the pandemic has reshaped teens’ daily lives, so too has it reshaped their use of social
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                                         media, magnifying existing challenges and opportunities of social media use, across multiple
                                         domains of social and emotional well-being. In doing so, the pandemic has laid bare the
                                         limitations in our current understanding of how social media affects adolescent well-being.
                                         It also provides an opportunity for a renewed commitment to research that is nuanced (i.e.,
                                         considers the who, what, and when of social media’s impact on teens’ socioemotional well-
                                         being), and also applicable (i.e., directly relevant to teens, families, and providers working
                                         with teens). Recent work has outlined critical future directions for research on adolescent
                                         social media use (Odgers & Jensen, 2020; Orben, 2020; Prinstein et al., 2020). Here, we


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                                         build on this prior work to address the ways in which COVID-19 has elicited new research
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                                         questions that inform the research agenda. We consider specific research questions related to
                                         teens’ social media use during COVID-19, and we use these as a springboard for addressing
                                         broader future directions in the field of adolescent social media use and well-being (see
                                         Figure 1).

                          Who: Individual differences in social media use and its effects
                                         Media effects scholars have long recognized that media does not impact all youth in the
                                         same way, and that youth are active contributors in constructing their digital environments
                                         (Valkenburg & Peter, 2013). Yet progress in the field of social media research has often been
                                         stymied by a focus on main effect models that seek to generalize the impact of digital media
                                         on all teens. Empirical work investigating the effect of COVID-19 on adolescent social
                                         media use and related well-being outcomes should seek to understand not only how teens
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                                         are using social media differently in the era of COVID-19, but also which teens are using
                                         social media in certain ways. We must examine how social media use during COVID-19
                                         impacts teens differently, as some may be especially vulnerable, or resilient, to its effects.
                                         In particular, it will be critical to consider factors of identity and context, including race,
                                         ethnicity, gender, sexuality, age, socioeconomic status, health and disability, and family
                                         structure, that intersect with COVID-19 and related stressors. As a worldwide pandemic,
                                         COVID-19 may provide a context in which to evaluate the cross-cultural similarities and
                                         differences in adolescent social media use, including how the sociocultural and geopolitical
                                         forces of adolescents’ environments (e.g., messaging from public health and government
                                         officials) shape social media use and its impact on teens’ well-being. Examining the broader
                                         context of these identities and systemic inequities during COVID-19 may shed light on
                                         processes that influence how adolescents use and respond to social media. How do these
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                                         factors influence a given teen’s experiences of social media use during COVID-19, and what
                                         effect does this have on their health? How does this inform the broader risk and resiliency
                                         factors and processes that impact adolescents’ social media use and well-being?

                                         Building on these considerations, progress within the broader field of adolescent social
                                         media use requires a consideration of individual differences as both predictors of social
                                         media use and moderators of its effects. The field must seek to understand which youth
                                         are more likely to use social media in ways that can be problematic and productive, and
                                         how this influences the effects that social media has on them. Adolescents’ particular
                                         strengths and needs must be considered in light of individual and broader social-ecological
                                         differences, including individual factors (e.g., identity, strengths, vulnerability), surrounding
                                         family and peer contexts (e.g., familial rules/structure around social media, peer group
                                         dynamics, parental and peer relationships), and larger societal and cultural influences
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                                         (Bronfenbrenner & Morris, 2007; Sanders-Phillips et al., 2009). It is particularly important
                                         to identify modifiable factors that moderate or influence social media use and its effects.
                                         For instance, parents’ relationships and attitudes towards social media use and technology
                                         may have direct implications for teens’ use and experiences. An important consideration
                                         in the context of COVID-19 will be if and how parents’ and adults’ own relationships
                                         with social media have changed during this time, and its subsequent impact on teens’
                                         use and experiences, which may provide a critical path forward for research and public


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                                         health guidelines. It is important to recognize, however, that parents’ rules and guidelines
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                                         for teens’ social media use may vary depending on individual characteristics of youth,
                                         such as demographic factors (e.g., age, gender) and vulnerabilities and strengths (e.g.,
                                         self-regulation, coping), and that their approach may differ across adolescents in the same
                                         household. Further, research is needed to understand how and for whom efforts to change
                                         social media use (i.e., through prevention and intervention) may be most beneficial, which
                                         may also provide critical targets for selective and indicated prevention. In an effort to
                                         conduct science with its direct applicability to families in mind, we must investigate which
                                         evidence-based recommendations for teen social media use are most appropriate for whom,
                                         taking into consideration individual, family, and sociocultural factors.

                          What: Social media content, tools, functions, and meanings
                                         Social media does not represent a monolithic entity, but rather a broad and diverse array
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                                         of tools that can be used in a multitude of ways. It is essential to understand exactly
                                         what teens are doing on social media and why, and this may be especially important in
                                         light of new types of social media content that have arisen in relation to COVID-19 (e.g.,
                                         rapid transmission of health information and misinformation, peers’ opinions related to
                                         the pandemic and associated crises) or uses of social media (e.g., more regular use of
                                         videochatting or social gaming). In this sense, COVID-19 has spurred questions relating to
                                         how teens’ use and experiences of social media have been impacted by the pandemic and
                                         its disruptions. This may include how the pandemic has affected the content to which teens
                                         are exposed, the content they are sharing, the ways they are using social media to interact
                                         with one another, how this varies within and across peer networks, and the functions that
                                         each of these behaviors serve. Further, research must closely examine these social media
                                         experiences, exploring the accuracy of information shared and consumed, and the benefits
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                                         and challenges of media-based social interaction in conjunction with or in lieu of other
                                         modes of social interactions. Further, research must examine social media in the broader
                                         context of adolescents’ lives and social interactions. Each of these questions will provide
                                         valuable information about the very function and nature of teens’ social media use, and
                                         potentially in-person social interactions, which may alter the questions we ask in future
                                         research.

                                         Although overall considerations of “screen time” are important, the field must continue
                                         building on these narrower investigations to examine in what ways teens are using social
                                         media, and why they may be engaging in specific behaviors. This must go beyond an
                                         examination of differences between platforms (i.e., TikTok versus Instagram), and must
                                         take into account what teens are doing, their motivations for doing so, and their subjective
                                         experience of these behaviors. Focusing on the affordances provided by the various
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                                         platforms (Nesi et al., 2018a) also may provide a more generalizable approach for social
                                         media research moving forward, as these platforms and functions continue to grow and
                                         evolve. Thus, it is important to consider these nuances within social media rather than
                                         examining “social media” as a whole. For instance, this may mean taking into account both
                                         the researcher-defined examination of social media and allowing for variability in what teens
                                         themselves consider to be their social media. Understanding the specific types of features
                                         and functions that affect different domains of adolescent well-being, particularly using an


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                                         affordance-based approach, may provide critical information to guide the development of
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                                         the next wave of social media applications. The field has made progress in beginning
                                         to understand some specific social media experiences (e.g., cybervictimization, social
                                         comparison, passive versus active use), but significantly more work is needed to advance
                                         the field and improve our ability to translate this work into actionable agendas to promote
                                         adolescent health and well-being across multiple domains.

                          When: Timing of social media use and its effects
                                         Understanding when adolescents are using social media and its subsequent effects involves
                                         attention to timing at the micro-level (i.e., day to day, hour to hour) and the macro-level
                                         (i.e., developmental changes). In regard to COVID-19, it is important to understand not
                                         only how much teens are using social media, but also when (at what times of day and
                                         in what mood states), as well as how this is impacted by factors that are COVID-specific
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                                         (e.g., physical distancing; increasing rates of infection; re-opening practices), and more
                                         general (e.g., changes in self-regulation, distraction, environment). For instance, the use and
                                         impact of social media is likely not a static or uniform experience within a person; it is
                                         a time-varying process that fluctuates depending on teens’ internal and external contexts
                                         (Jensen et al., 2019). Thus, individual changes within and across COVID-19 may be a
                                         microcosm of an individual’s larger experience with social media. It will be important
                                         to understand how these patterns of social media use and its subsequent effects compare
                                         to pre-and post- COVID-19 usage, and how these patterns vary across the months (and
                                         potentially years) of COVID-19. For instance, will we see a change in the function and
                                         use of social media post-COVID-19, as teens grow tired of certain types of social media
                                         and strive for face-to-face interactions? Will teens develop new ways of using social media
                                         that further strengthen the closeness and connections that can be enhanced by social media?
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                                         These are important questions that may shape the future of research in this area. It is also
                                         important to consider adolescents’ developmental stage, and the ways in which COVID-19
                                         and associated stressors may impact them differently over time depending on their ongoing
                                         biological, cognitive, affective development. The degree to which this influences their use of
                                         social media and its effects is a critical area for investigation.

                                         Generalizing these considerations to the larger research agenda on adolescent social media
                                         use, understanding timing speaks to the relevance of both within-person and between-person
                                         differences. Thus far, the majority of investigations of adolescent social media use have
                                         emphasized between-person differences, testing whether teens who use more social media,
                                         including at specific times of day (e.g., nighttime), are affected differently than those
                                         who do not. These studies remain important, and we need more research that teases
                                         apart the factors (e.g., circadian, social) that influence social media use within and across
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                                         days, such as daytime and nighttime, weekend and weekday, and school and non-school
                                         days. Additionally, we must also examine within-person differences, considering for each
                                         adolescent, when they are most positively or negatively affected by certain social media
                                         experiences using intensive monitoring designs (Jensen et al., 2019; Stange et al., 2019).
                                         For example, studies might examine whether an adolescent’s fluctuations in mood impact
                                         their patterns of social media use, or whether certain types of social media use at different
                                         points during the day (e.g., before bedtime, during remote instruction) shape the impact


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                                         of social media on their health and across domains of well-being (e.g., socioemotional,
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                                         physical health, academics). Understanding the time-varying processes of social media use
                                         and its impact within individuals across multiple domains of well-being and functioning also
                                         may provide information to translate research into the design and development of tools for
                                         teens to better understand and alter their own use.

                          How: Methods for studying social media use
                                         Beyond the substantive questions of who, what, and when adolescents are using and affected
                                         by social media, the field must take into consideration how it tests these questions. First
                                         and foremost, research examining social media use during COVID-19 and beyond should
                                         be grounded in theory to better understand the complexities of adolescent social media
                                         use and well-being. Although the field of adolescent social media research is beginning
                                         to evolve, the majority of studies have relied on cross-sectional methods and self-report
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                                         measures. This has hindered researchers’ ability to make meaningful conclusions with direct
                                         applicability to the public. In regard to COVID-19, the field has not yet had time to
                                         rigorously test its effects on adolescent social media use and related psychosocial outcomes.
                                         In this paper, we have discussed potential impacts of COVID-19 on social media use
                                         and socioemotional well-being from the lens of processes and mechanisms (e.g., social
                                         interactions, developmental tasks), rather than focusing on only maladjustment or a singular
                                         outcome (e.g., anxiety, depression). This approach may serve as one example of how
                                         research can seek to understand the complex relationships of social media and one critical
                                         domain of adolescent well-being. Thus, empirically investigating the theoretical propositions
                                         outlined in this paper will be an important first step, and extended into other areas of
                                         well-being (e.g., physical health, academics). This will require a multi-method approach,
                                         drawing on qualitative and focus group work, intensive sampling methods (EMA), and
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                                         longitudinal work, some of which may draw on existing (i.e., pre-COVID-19) longitudinal
                                         cohort designs. It will also require exploring the ways in which social media may act as
                                         a tool for recruitment and data collection in a world where virtual and remote designs are
                                         increasingly required.

                                         Broadly, progress in the field of adolescent social media research requires evolving the
                                         conversation beyond reductionist characterizations of social media as “all good” or “all
                                         bad.” By continuously refocusing efforts on uncovering the nuances of what, when, and for
                                         whom social media use influences different domains of adolescent well-being, research can
                                         produce insights with direct relevance to teens, families, and providers. Methodologically,
                                         the field must move toward greater diversity of rigorous methods, including qualitative
                                         interviews and focus groups, content analyses, experimental, longitudinal, and intensive
                                         monitoring, and aim to incorporate more objective measures of use (e.g., smartphone
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                                         sensing of social media usage, direct analysis of adolescents’ social media content). A
                                         bottom-up approach should be employed as well, and should be sure to include adolescents’
                                         voices in the methods and questions we are asking. Further, the field would benefit from
                                         supplementing “screen time” measures with measures of specific social media behaviors,
                                         affordances, and teens’ subjective experiences. These approaches can be further enhanced
                                         by the use of open science frameworks and repositories that promote accessibility and
                                         transparency among research teams to continually and jointly improve the methodological


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                                         approaches used in the field (e.g., validated study measures for different research designs
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                                         and questions).

                                         Finally, research designs need to increase the diversity of both investigators and participants,
                                         including the perspectives and experiences of individuals from various backgrounds,
                                         identities, and nationalities, which has implications for the equitability, generalizability
                                         and applicability of the research and ensuing recommendations. Considering the broader
                                         sociocultural and systemic contexts that shape teens’ social media experiences is important,
                                         such as the geopolitical news and policies that may directly affect social media content and
                                         teens’ experiences with it. Further, there is a need for multidisciplinary collaborations in
                                         social media research, and for active participation by industry in these endeavors, given the
                                         richness of information to which they already have access. Disciplines (e.g., psychological
                                         science, computer engineering, public health, education, medicine), policymakers, and
                                         people in industry have a unique skillset and perspective that can jointly inform this future
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                                         research agenda, as well as improve the translation of research into direct recommendations
                                         and resources for the public.


                          Conclusion: A Call to Action
                                         Adolescents are a unique population within the context of the COVID-19 pandemic, both
                                         in terms of their developmental stage and as the “digital native” generation best equipped
                                         to use social media to stay socially-connected while physically distant. COVID-19 has
                                         magnified many of the existing considerations of social media use and its potential effects
                                         on adolescent health and well-being. In doing so, it has provided an opportunity for the field
                                         to re-evaluate current research approaches and work towards a more nuanced understanding
                                         of adolescent social media use and socioemotional well-being. We must move away from
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                                         the false dichotomy of whether social media is helping or harming teens today, and instead
                                         consider the who, what, and when of social media, as well as how to rigorously examine
                                         these questions.

                                         We conclude with a call to action for psychological science. We argue that the field should
                                         actively use our science to shape the conversation around adolescent social media use
                                         and well-being. First, psychological science around adolescent social media use should be
                                         translated into clinical and health guidelines. Second, the field must work to disseminate
                                         accessible information to the public. Finally, researchers should take an active approach
                                         towards using science to inform policies and the development of social media applications
                                         that promote adolescent well-being. While the field has come a long way in a relatively
                                         short time, COVID-19 has demonstrated that it still has a long way to go toward enacting
                                         a research agenda regarding social media use and adolescent well-being that is both more
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                                         nuanced and applicable.


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                                         Figure 1.
                                         Key research questions for adolescent social media use in the era of COVID-19 and beyond.
                                         SM = social media.
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